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                                                                                21-MJ-7321-JCB
                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Brandon T. Amerine, being duly sworn, state:

                                Introduction and Agent Background

    1. I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have been so

       employed since May of 2019. Since October of 2019, I have been assigned to the FBI

       Boston Division’s Violent Crimes Task Force (“VCTF”), which is comprised of law

       enforcement personnel from the FBI, Boston Police Department (“BPD”), Massachusetts

       State Police (“MSP”), and the Malden, Somerville, Dedham, and Saugus Police

       Departments. As a Special Agent with the FBI, I have worked investigations dealing with

       violent crimes such as bank and commercial robberies, Hobbs Act offenses, murder for

       hire, extortion, and crimes against persons. In addition to violent crimes, I have also worked

       investigations involving bank and wire fraud, aggravated identity theft, drug trafficking

       and money laundering. As a result of my training and experience, and information provided

       to me by other agents and law enforcement officers, I am familiar with the tactics, methods,

       and techniques of committing various types of fraud violations of federal law. I have also

       received specialized training regarding investigative techniques, evidence collection, and

       evidence preservation.

    2. I submit this affidavit in support of a criminal complaint charging TEDJE MENARD,

       (YOB 1994), with false representation of a social security number (42 U.S.C. §

       408(a)(7)(B)) and aggravated identity theft (18 U.S.C. § 1028A).

    3. The facts stated herein are based on my own personal involvement with this investigation

       as well as from information provided to me by other law enforcement officers involved in

       the investigation. Because this affidavit is submitted for the limited purpose of securing a



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       criminal complaint, I have not included each and every fact known to me concerning this

       investigation. Instead, I have set forth only the facts that I believe are necessary to establish

       the necessary foundation for the requested complaint.

                           BACKGROUND ON THE CARES ACT

    4. As set forth in more detail below, among other things, MENARD submitted certain

       fraudulent applications to the U.S. Small Business Administration (“SBA”) in connection

       with a fraudulent SBA Paycheck Protection Program (“PPP”) loan, which resulted in the

       payment of $20,833 to a TD bank account in MENARD’s name. MENARD also submitted

       a fraudulent application for an SBA Economic Injury Disaster Loan (“EIDL”) using the

       name and personally identifiable information (“PII”) of another person with the initials

       “B.M.” for $40,000, which was ultimately denied.

    A. The Economic Injury Disaster Loan Program

    5. The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act was a federal law

       enacted in March 2020 to provide emergency financial assistance to Americans suffering

       the economic effects of the COVID-19 pandemic. Among other things, the CARES Act

       expanded the SBA’s EIDL program to provide loans of up to $2 million to small businesses

       that suffered “substantial economic injury” from COVID-19.

    6. EIDL funds were issued directly from the United States Treasury. Applicants applied

       through the SBA via an online portal. The EIDL application process required applicants

       to provide information concerning the affected business, including the number of

       employees, gross revenues, and costs of goods sold in the 12 months prior to January 31,

       2020, as well as information about the business owner. Applicants electronically certified

       that the information provided was accurate. The SBA relied on the information provided



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       by the applicant to determine how much money the small business was eligible to receive

       in the form of EIDL funds.

    B. The Paycheck Protection Program

    7. Another source of relief provided under the CARES Act was the authorization of forgivable

       loans to small businesses for job retention and certain other expenses, through the PPP. To

       obtain a PPP loan, a qualifying business was required to submit a PPP loan application,

       which was signed by an authorized representative of the business.          The PPP loan

       application required the business (through its authorized representative) to acknowledge

       the program rules and make certain affirmative certifications in order to be eligible to

       obtain the PPP loan.

    8. A PPP loan application was processed by a participating lender. If a PPP loan application

       was approved, the participating lender funded the PPP loan using its own monies, which

       were guaranteed by the SBA. Data from the application, including information about the

       borrower, the total amount of the loan, and the listed number of employees, was transmitted

       by the lender to the SBA in the course of processing the loan.

                                       PROBABLE CAUSE

                 MENARD’s Use of the B.M. Identity to Rent an Apartment
                              (42 U.S.C. § 408(a)(7)(B))

    9. In or around March 2021, law enforcement determined that MENARD was living at the

       Portside at East Pier apartment building, located at 40 East Pier Drive, in East Boston, MA

       using the PII, including the name, date of birth, social security number, and residential

       address, of a real person with the initials B.M. As detailed below, MENARD used B.M’s

       information, including B.M.’s social security number, in order to acquire the apartment.




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    10. Specifically, I reviewed records obtained from Portside at East Pier apartments and

       conducted witness interviews in connection with unit 2522, which revealed the following

       information:

                 a.    On March 26, 2021, a surveillance photo of MENARD entering Portside at

               East Pier apartments was shown to an employee of Portside at East Pier apartments

               (hereinafter “Employee 1”). Employee 1 recognized the individual in the photo as

               B.M. and advised that the individual in the photograph resided in unit 2522.

               Employee 1 also advised that he/she had rented unit 2522 to the individual who had

               presented himself as B.M. during the application process. Employee 1 advised that

               they rented the apartment to B.M. on December 1, 2020.

                 b.    Portside at East Pier provided a copy of a rental application submitted in

               connection with unit 2522. The application included B.M.’s name, date of birth,

               the last four digits of B.M.’s social security number, and a residential address.1 The

               phone number submitted in connection with the application was a phone number

               ending in 8446. The application included an email address with B.M’s first initial

               and last name followed by 0785@gmail.com. The application was submitted on or

               about November 19, 2020.




                              
1
  While the application provided by Portside at East Pier has redacted B.M.’s date of birth in full
and social security number aside from the last four digits, other documentation provided by the
building lists B.M.’s full date of birth and B.M.’s social security number. Employee 1 explained
that PII is automatically redacted on certain documents, including the application, when populated
for viewing within the Portside at East Pier’s computer system. Employee 1 further explained that
in order to apply to Portside at East Pier, applicants must submit a full social security number and
date of birth on the application as these are required by Portside at East Pier to complete the
screening process of their applicants.

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                   c.    Portside at East Pier kept a copy of the photo identification provided to them

                 by the individual purporting to be B.M. in connection with the rental of unit 2522.

                 I reviewed the copy of the photo identification, pictured below in redacted format,

                 which is a North Carolina driver’s license in B.M’s name, with B.M.’s date of birth

                 and residential address.2 I have reviewed the photograph on record with the

                 Massachusetts Registry of Motor Vehicles (“MA RMV”) for MENARD, pictured

                 below, and compared it to the photograph included in the North Carolina driver’s

                 license in the name of B.M. with B.M.’s personal information and they appear to

                 depict the same individual.




                   d.    Additionally, Portside at East Pier utilized the ButterflyMX entry system, a

                 technology available via a smart phone application that allows Portside at East Pier

                 residents to remotely open doors to the residential community for themselves or

                 visitors. Portside at East Pier provides residents access to the ButterflyMX

                 application via the resident’s telephone numbers that are on file with the residential

                 community. During the unlocking process, the ButterflyMX system instantly

                 captures a photo of who is accessing the entry door. Unit 2522 had telephone



                                 
2
    As discussed in more detail infra, B.M. is a real person.
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              number, ending in 8446, linked to the corresponding ButterflyMX account. A

              review of Unit 2522’s ButterflyMX account revealed photos that appear to depict

              MENARD, among other people, accessing Portside at East Pier apartment’s entry

              doors on various dates.

    11. On March 30, 2021, law enforcement was contacted by an employee at Portside at East

       Pier and advised that B.M. called the management office in order to reserve an elevator the

       following day, on March 31, 2021, from 10:00 a.m. to 1:00 p.m.

    12. On March 31, 2021, law enforcement conducted physical surveillance in the area of the

       Portside at East Pier apartments. Over the course of approximately two and a half hours,

       MENARD, along with two males and a female, were seen moving items out of the

       apartment building into a UHaul truck and a black Toyota RAV4 with Massachusetts

       license plate ending in PM7, which was registered to a suspected family member of

       MENARD who shares his last name, with a registered address in Everett, MA.3 Both

       vehicles then departed Portside at East Pier Apartments and went to an Extra Space Storage

       located in Everett, MA.

    13. Law enforcement subsequently reviewed records obtained from the Extra Space Storage in

       connection with the storage unit containing MENARD’s items. The unit was rented by an

       individual with the initials “S.N.” on March 29, 2021. From my review of MA RMV

       records for S.N., S.N. appears to be the female that was seen with MENARD moving items




                             
3
  This full address has been redacted for privacy purposes. However, as discussed in more detail
below, this residential address in Everett, MA is a known address for MENARD as it is listed on
MENARD’s MA RMV driver’s license and was provided by MENARD to the Middlesex County
Probation Office as MENARD’s residential address. It is believed to be MENARD’s family
residence.
                                                6
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       out of the Portside at East Pier apartment on March 31, 2021.          Based upon this

       investigation, S.N. is believed to be MENARD’s girlfriend.

    14. Following MENARD’s departure from the Portside at East Pier apartment building, a

       search for the black Toyota RAV4 with Massachusetts license plate ending in PM7 in a

       law enforcement database returned an address on Crane Brook Way, in Peabody, MA. 

                  Surveillance of the Apartment Building in Peabody, MA

    15. On May 13, 2021, law enforcement conducted physical surveillance in the vicinity of an

       apartment building located on Crane Brook Way, in Peabody, MA. Law enforcement

       located the black Toyota RAV4 with MA registration ending in PM7 that had been viewed

       at the Portside at East Pier apartment building on March 31, 2021. The vehicle was parked

       in reserved parking spot 9 in the apartment building’s parking lot.

    16. On May 19, 2021, law enforcement again conducted physical surveillance in the vicinity

       of the apartment complex. The black Toyota RAV4 was observed in reserved parking spot

       9. MENARD was observed exiting the apartment building and retrieving what appeared

       to be a food delivery before re-entering the apartment building.

    17. Later, on November 9, 2021, Boston VCTF members conducted a physical surveillance of

       MENARD and S.N. in vicinity of Boston Logan Airport. MENARD and S.N. departed

       gate 22 of Terminal C and proceeded to the ride share app pickup location and entered a

       tan-colored Subaru Sport Utility Vehicle, with MA license plate ending in B48 (“the

       Vehicle”). The Vehicle had a visible “Uber” sticker on the rear window.

    18. The Vehicle departed Boston Logan Airport with MENARD and S.N. and proceeded to

       drop MENARD and S.N. off at the front entrance of the apartment building, located on

       Crane Brook Way, Peabody, MA.



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                                       Interview of B.M.
                                      (18 U.S.C. § 1028A)

    19. On March 27, 2021, B.M. was interviewed by FBI VCTF. B.M confirmed that the

       information on the North Carolina driver’s license was his true information, including his

       name, date of birth, and home address. B.M. also confirmed that the social security number

       provided to Portside at East Pier in connection with the apartment application was his true

       social security number. Law enforcement provided B.M. with a copy of the North Carolina

       driver’s license on file with the Portside at East Pier apartment building. B.M. advised that

       he did not recognize the individual in the photograph. B.M. further advised that he did not

       provide the individual pictured, or anyone else, with consent to use his PII.

                EIDL Application Submitted by MENARD in B.M.’s Name
                       (MENARD’s continued use of B.M.’s PII)

    20. Subsequently, on June 21, 2021, B.M. advised FBI VCTF of a fraudulent small business

       loan application with the SBA that was applied for in his name on or about June 18, 2021.

       B.M. advised that he never applied for this loan. B.M. provided the reference number for

       the fraudulent application in his name, ending in 0278.

    21. On August 23, 2021, a grand jury subpoena was served to the SBA referencing SBA

       application number ending in 0278.

    22. On August 24, 2021, FBI VCTF received a response from the SBA referencing an EIDL

       application number ending in 0278 submitted by an individual claiming to be B.M. The

       response included the following information:




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                   a. EIDL application ending in 0278 for $40,000.00 was applied for using

               B.M.’s true information including his date of birth, social security number, and

               residential address.

                   b. The company’s “legal name” provided on the loan application was B.M.’s

               name and the company’s doing-business-as (DBA) name was “Computer Repair

               Services” with business address of B.M.’s residential address.4

                   c. The application listed an Internet Protocol (IP) Address that was used to

               submit the application on or about June 18, 2021, at approximately 11:04 a.m. The

               IP Address utilized was: 71.233.73.43.

                   d. On June 18, 2021, the SBA sent a letter denying the EIDL loan ending in

               0278 because the SBA determined that the applicant business was not located in a

               low-income community; and the SBA determined that there was potentially

               fraudulent and unverifiable information during the loan underwriting process,

               which caused SBA to question the validity of certain information that was

               submitted as part of the application.

    23. Open-source research revealed that Comcast Communications was the owner of the IP

       address 71.233.73.43 used to submit the EIDL application. In response to a grand jury

       subpoena, Comcast Communications provided the subscriber information associated with

       IP Address 71.233.73.43, on June 18, 2021, at approximately 11:04 a.m. The response

       included the following information:

                              
4
  Open-source research of the North Carolina Secretary of State Business Registration website
revealed there to be a business named “Computer Repair Services, Inc.” however, the business
was dissolved with the State of North Carolina on May 5, 2005. No businesses with this name
appear to be registered with the North Carolina Secretary of State Business Registration at the time
that the application was submitted in 2021.

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              Subscriber Name: S.N.5
              Service Address: A residential address on Crane Brook Way, Peabody, MA
              0196085426
              Billing Address: A residential address on Crane Brook Way, Peabody, MA
              019608542
              Telephone Number: A phone number ending in 99747
              Type of Service: High Speed Internet Service
              Account Number: 8773103721101426
              Account Status: Active
              IP Assignment: Dynamically Assigned
              E-mail User Ids: jmenard1964@comcast.net

                       PPP Loan Application Submitted by MENARD

    24. Law enforcement also learned that, on or about April 30, 2021, MENARD submitted a

       Paycheck Protection Program Borrower Application Form for Schedule C Filers Using

       Gross Income (hereinafter “PPP Application”), through Womply, an online processing

       service that assists with PPP loans.8 The requested loan amount was $20,833 for “payroll

       costs” for MENARD’s business. MENARD further provided that his business’s total gross

       income in 2019 was $100,000.

    25. MENARD provided the following information on the SBA Form 2483-C in connection

       with the loan application:

              Business Legal Name: Tedje Menard

                             
5
 This name is redacted here for privacy purposes, but, as outlined above, S.N. is believe to be
MENARD’s girlfriend.
6
  This address has been redacted for privacy purposes, but it refers to a unit number in the
apartment complex on Crane Brook Way, in Peabody, MA.
7
 As discussed in more detail below, this phone number is believed to be one of the phone numbers
used by MENARD.
8
 Based upon my discussion with an employee at Womply, my understanding is that Womply uses
Amazon Web Services (“AWS”) to process applications for PPP loans, among other things. These
applications are transmitted to AWS data centers that are located outside of the State of
Massachusetts.

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                                                                               21-MJ-7321-JCB
               DBA or Tradename: Tedje Menard
               Year of Establishment: 01/01/2019
               Business Address: An address located in, Everett, MA 021499
               NAICS Code: 492110
               Business TIN: XXX-XX-XXXX
               Business Phone: Phone number ending in 844610

     26. Question 6 of the SBA Form 2483-C reads: “Within the last 5 years, for any felony

        involving fraud, bribery, embezzlement, or a false statement in a loan application or an

        application for federal financial assistance, has the Applicant (if an individual) or any

        owner of the Applicant 1) been convicted; 2) pleaded guilty; 3) pleaded nolo contendere;

        or 4) commenced any form of parole or probation (including probation before judgment)?

        Initial here to confirm your response to question 6.” MENARD digitally selected “NO” to

        answer 6 and digitally initialed the SBA Form 2483-C “TM.” However, this was a false

        statement. MENARD had at least one prior felony conviction at the time that he submitted

        the application. Specifically, on August 27, 2020, MENARD pled guilty to Identity Fraud

        (more than $7,500 but less than $150,000), in violation of Ohio Revised Code

        § 2913.49(B)(2), in Montgomery County, Ohio (Case No. 2019-CR-03264). In connection

        with this conviction, MENARD was sentenced to five (5) years of probation. I have

        reviewed police reports in connection with this arrest, which provide that, on or about

        October 1, 2019, MENARD went to a Code Credit Union located in Dayton, Ohio, and

        applied for a $20,000 loan. In connection with the loan, MENARD provided a copy of a



                              
9
  This address, which is redacted here, is the same address in Everett, MA that is discussed above.
It is a known address for MENARD.
10
   Notably, this is the same phone number associated with the ButterflyMX system for Unit 2522
at the Portside at East Pier apartment building rented by MENARD using B.M.’s PII and associated
with the ButterflyMX system for Unit 2522 at the Portside at East Pier apartment building.

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        New York State driver’s license and represented himself as an individual with the initials

        “R.J.D.” and a resident in Staten Island, New York. MENARD provided documents in

        connection with this application in the name of R.J.D. Ultimately, it was determined that

        MENARD was not R.J.D. and MENARD was taken into custody.

     27. In connection with the PPP Application, MENARD attached a Schedule C Form 1040 from

        2019 for his business. The Schedule C identified MENARD’s principal business or

        profession as “provid[ing] food services” and the business name as “doordash.”11 The

        Schedule C listed a gross income of “$100,000.” The Schedule C also listed $2,000 in

        advertising costs and $2,000 in office expenses in connection with this business, among

        other expenses.    Records received from DoorDash show that MENARD worked as a

        contractor for DoorDash. These records begin in July 2019. However, MENARD’s pay

        history at DoorDash indicates that he made approximately $10,200 in 2019, rather than the

        $100,000 that was included in the Schedule C attached to his PPP Application.

     28. In connection with the PPP Application, MENARD also submitted a photograph of his

        Massachusetts driver’s license as well as a number of “selfie-style” photographs.

     29. The IP address listed in connection with MENARD’s signature on the PPP Application

        form submitted on April 30, 2021 at approximately 3:23:38 A.M. was 66.31.53.183.

     30. A grand jury subpoena was sent to Comcast for subscriber information for this IP address

        66.31.53.183 on April 30, 2021, at 3:23 A.M. The subscriber information included the

        following:



                              
11
  DoorDash, Inc. is an online food ordering and food delivery platform. DoorDash provides an
online marketplace platform using web-based technology that connects contractors, restaurants
and/or other businesses, and consumers. The business is based in San Francisco, California.

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               Subscriber name: “G.G.” Menard12
               Service address: A residential address in Everett MA 02149-380913
               Billing address: A residential address in Everett MA 02149-3809
               Telephone #: A phone number ending in 4864
               Type of Service: High Speed Internet Service
               Account Number: 8773100711138285
               Account Status: Active
               IP Assignment: Dynamically Assigned
               E-mail User IDs: “g.g.”menard

     31. On or about May 12, 2021, MENARD signed a promissory note in connection with the

        loan for $20,833.00. On or about May 14, 2021, MENARD signed a loan agreement with

        Fountainhead SBF LLC, the lender for the loan. The IP address listed in connection with

        MENARD’s electronic signature on or about May 14, 2021, was: 71.233.73.43. This IP

        address (71.233.73.43) is the same IP address used the following month, in June 2021, to

        submit the EIDL loan in B.M.’s name. As outlined above, as of June 2021, this IP address

        corresponded to the apartment unit on Crane Brook Way in Peabody, MA.14

     32. On September 2, 2021, a grand jury subpoena was served to Fountainhead SBF, LLC, a

        commercial lender, regarding MENARD’s PPP loan application for $20,833.00.

        MENARD received full payment of the loan on or about May 18, 2021 into a TD Bank

        checking account in MENARD’s name ending in 9872. This TD Bank account lists a




                              
12
   I have not included the full name of this individual for privacy purposes. However, based upon
law enforcement database research and through this investigation, G.G. Menard is believed to be
a family member of MENARD who also resides at the address in Everett, MA, discussed herein.
13
   This address, which is redacted here, is the same address in Everett that is discussed above. It
is a known address for MENARD.
14
  The subpoena provided to Comcast did not include the date in May 2021, when the PPP loan
was submitted in MENARD’s name. However, as outlined above, based upon law enforcement
surveillance, MENARD was living at the address in Peabody in May 2021.

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              known residential address for MENARD (discussed above), located in Everett, MA, and

              phone number ending in 9974.15 

                                                                       CONCLUSION

       33. Based on all of the foregoing, I submit that there is probable cause to believe that:

                                    a. On or about November 19, 2020, MENARD, with the intent to deceive,

                            falsely represented a number to be the social security number assigned by the

                            Commissioner of Social Security to him or to another person, when in fact such

                            number is not the social security number assigned by the Commissioner of Social

                            Security to him or to such other person, in violation of 42 U.S.C. § 408(a)(7)(B);

                            and

                                    b. On or about November 19, 2020, MENARD knowingly transferred,

                            possessed, and used, during and in relation to any felony violation enumerated in

                            18 U.S.C. § 1028A(c), and without lawful authority, a means of identification of

                            another person, in violation of 18 U.S.C. § 1028A.

Sworn to under the  pains and penalties of perjury,
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___________________________________________
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              _______
                   _ _____
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Brandon
Br
Bran
  andon Amerine, SpeSpecial Agent
Federal Bureau of Investigation

                                                                                      17th day
Sworn to via telephone in accordance with Federal Rule of Criminal Procedure 4.1 this ____
of November, 2021.
___________________________________________
HONORABLE JENNIFER C. BOAL
UNITED STATES MAGISTRATE JUDGE

15
   As outlined above, phone number ending in 9974 was associated with the Comcast account at
the Crane Brook Way apartment that was used to submit the SBA loan application using B.M.’s
information and the loan application for MENARD. The 9974 phone number was also listed on
MENARD’s TD Bank account ending in 9872—the account where MENARD fraudulently
obtained a PPP loan for over $20,000.
                                                                           14
